946 F.2d 888
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Danny THIEMECKE, Defendant-Appellant.
    No. 91-6573.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1991.Decided Oct. 22, 1991.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Parkersburg.   Charles H. Haden, II, Chief District Judge.  (CR-88-39-A)
      Danny Thiemecke, appellant pro se.
      Mary Stanley Feinberg, Assistant United States Attorney, Charleston, W.Va., for appellee.
      S.D.W.Va.
      AFFIRMED.
      Before K.K. HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Danny Thiemecke appeals from the district court's order denying relief on his Fed.R.Crim.P. 35 motion.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Thiemecke, No. CR-88-39-A (S.D.W.Va. Apr. 24, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    